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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 WESLEY IRA PURKEY,                                    )
                                                       )
                               Petitioner,             )
                                                       )
                          v.                           )        No. 2:20-cv-00365-JRS-DLP
                                                       )
 WARDEN, et al.                                        )
                                                       )
                               Respondents.            )

                       Order Denying Motion for Preliminary Injunction

        Petitioner Wesley Purkey was scheduled to be executed yesterday, July 15, 2020, at the

 United States Penitentiary in Terre Haute, Indiana (USP – Terre Haute) at 7:00 p.m. Shortly after

 5:00 a.m., on July 15 the District Court for the District of Columbia enjoined Mr. Purkey's

 execution based on Mr. Purkey's claim of incompetence to be executed under Ford v. Wainwright,

 477 U.S. 399 (1986). Purkey v. Barr, et al., No. 1:19-cv-3570, dkt. 36 (D.D.C. July 15, 2020). The

 government appealed and sought a stay of the district court's judgment. The United States Circuit

 Court for the District of Columbia denied the government's motion to stay, holding that the

 government had not shown a strong likelihood of success on appeal. Purkey v. Barr, et al., No. 20-

 5207, dkt. 1851927 (D.C. Cir. July 15, 2020). In the early morning today, July 16, the Supreme

 Court lifted the stay in a summary order, with four justices dissenting. Barr v. Purkey, 591 U.S.

 ___, No. 20A9 (2020).

        Based on the Supreme Court's denial and a review of the applicable law, the Court

 concludes that Mr. Purkey should have filed this action as a § 2241 petition in this Court originally,

 instead of a civil rights action in the United States District Court for the District of Columbia. His

 calculated forum choice has disrupted the orderly proceedings of this case, allowing him to delay
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 in one court with ensuing appeals, and then file substantially the same claims in another court with

 a further round of appeals surely to follow. This is an abuse of the writ. Moreover, it violates the

 principle that "we ought not to have a procedural system where challenges to a conviction can go

 on endlessly." Barr v. Purkey, 591 U.S. ___, No. 20A9, at *3 (2020) (Breyer, J., dissenting).

 Accordingly, Mr. Purkey cannot make the required showing of a strong likelihood of success on

 his claim.

        It is lamentable that counsel's procedural gamesmanship may have prevented a substantive

 review of Mr. Purkey's Ford claim as it should have been presented. But a stay of execution is an

 extraordinary remedy, and the Court must consider the equities before granting relief. Despite the

 risk of irreparable harm to Mr. Purkey, the balance of equities do not weigh in his favor.

        Mr. Purkey's motion for stay of execution, dkt. [2], is denied.

        IT IS SO ORDERED.

  Date:7/16/2020
 Date:




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